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 7        IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

 8                                         CALIFORNIA

 9
                                                  Case Number: 10-347-MCE
10   THE UNITED STAES OF AMERICA
                                                     STIPULATION AND
11   V.                                              ORDER CONTINUING STATUS
                                                     CONFERENCE
12   LEONARD WOODFORK

13                Defendants

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15
            IT IS HEREBY STIPULATED between Plaintiff United States of America, by and
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     through Assistant United States Attorney Jill Thomas, Attorney Olaf Hedberg on behalf
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     of Leonard Woodfork, that the status conference scheduled for July 24, 2014 be
18   continued to August 28, 2014, at 9:00 a.m. to exclude time between July 31, 2014, and
19   August 28, 2014, under Local Code T4.
            The government has provided a written Plea Agreement proposing resolution of
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     this matter. Defendant has responded with a proposed alternative resolution. The
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     parties anticipate continued negotiations regarding the resolution of this case.
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            This case stems from a wiretap investigation and the discovery is voluminous.
23   The parties are reviewing that discovery in light of the proposed and prospective

24   resolution proposals. One of the purposes of this review is to determine whether any
     disputes as to estimated guideline calculations can be resolved. This process includes
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     the sharing of some defense investigation information with the government. Both sides
                                                 1
             Case 2:10-cr-00347-DAD Document 383 Filed 07/23/14 Page 2 of 3


     of the case are also conducting further follow up investigation. This investigation
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     impacts the potential sentencing guidelines applicable to Defendant Leonard Woodfork.
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     Lastly, the interaction of the instant matter with a previous parallel matter in Placer
 3   County has presented some unique issues that the parties are in the process of
 4   resolving. The Government has provided a proposed plea agreement as a result of the
     negotiations in the matter at bar. Defense counsel needs time to explain this plea
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     agreement to his client.
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     DATED: July 21, 2014                                     By: /s/ Jill Thomas
                                                              JILL THOMAS
10                                                            Assistant U.S. Attorney

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     DATED: July 21, 2014                                     By: /s/ Olaf W. Hedberg for
13                                                            OLAF HEDBERG
                                                              Attorney for Defendant
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                                                              LEONARD WOODFORK
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              Case 2:10-cr-00347-DAD Document 383 Filed 07/23/14 Page 3 of 3


                                               ORDER
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             A status conference in this matter is set for July 24, 2014 at 9:00 a.m. Based on
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     the stipulation of the parties, the Court finds that the ends of justice outweigh the best
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     interest of the public and Defendant in a speedy trial. Accordingly, time under the
 4   Speedy Trial Act shall be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code
 5   T4 (reasonable time to prepare) from July 31, 2014 up to and including August 28,

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     2014.
             IT IS SO ORDERED
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     Dated: July 22, 2014
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